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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                          CRIMINAL CASE NO.: 9:22-mj-08332-BER-1

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  SEALED SEARCH WARRANT,

        Defendant.
  _________________________________/

                 MOVANT JUDICIAL WATCH, INC.’S NOTICE OF FILING
                   STATEMENT BY PRESIDENT DONALD J. TRUMP

         Movant Judicial Watch, Inc. hereby gives notice that on August 11, 2022, President Donald

  J. Trump issued a public statement announcing that he will not oppose the release of documents

  related to the FBI’s August 8, 2022 search of his Palm Beach, Florida home. President Trump

  encouraged the “immediate release” of the documents and concluded his statement by proclaiming

  “Release the documents now!” A copy of President Trump’s statement is attached as Exhibit A.

         Dated: August 12, 2022.

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                                     Respectfully Submitted,

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